       Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

Angelia Chapman, individually and on             §
behalf of all others similarly situated,         §
                                                 §
       Plaintiff,                                §
                                                 §         Civil Action No. 4:21-cv-00942
v.                                               §
                                                 §          JURY TRIAL DEMANDED
Kelsey-Seybold Medical Group, PLLC,              §
                                                 §
       Defendant.                                §

                            PLAINTIFF’S ORIGINAL COMPLAINT

        Plaintiff, Angelia Chapman (“Chapman” or “Plaintiff”), files this Complaint against

Kelsey-Seybold Medical Group, PLLC (“Kelsey-Seybold” or “Defendant”), showing in support

as follows:

                                 I.         NATURE OF ACTION

        1.      This is a civil action brought under the Fair Labor Standards Act, 29 U.S.C.

§§ 201-219, and the Portal-to-Portal Act, 29 U.S.C. §§ 251-262 (collectively, the “FLSA”)

seeking damages for Defendant’s failure to pay Plaintiff time and one-half the regular rate of pay

for all hours worked over 40 during each seven-day workweek while working for Defendant paid

on a salary basis as a non-exempt employee. Plaintiff seeks all damages available under the

FLSA, including back wages, liquidated damages, legal fees, costs, and post-judgment interest.

                                      II.     THE PARTIES

A.      Plaintiff Angelia Chapman

        2.      Plaintiff is an individual residing in Fort Bend County, Texas. Plaintiff has

standing to file this lawsuit.

        3.      Plaintiff began working for Defendant on or about July 25, 2016. Plaintiff is a
      Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 2 of 6




current employee, and was at all times non-exempt.

       4.      At times relevant, Plaintiff earned a salary with no additional compensation for

overtime hours of work in connection with work for Defendant, while many workweeks in

excess of forty hours. When Defendant experienced a business downturn starting on or about

September of 2020, Defendant converted Plaintiff to an overtime eligible hourly paid employee

to reduce the amount of pay owed to her as she was no longer working significant overtime.

Plaintiff seeks redress for Defendant’s failure to pay her overtime premium pay before her

conversion to an overtime eligible hourly paid employee.

       5.      Plaintiff’s written consent to participate in this lawsuit is filed along with this

Original Complaint as Exhibit 1.

B.     Defendant Kelsey-Seybold Medical Group, PLLC

       6.      Defendant is a professional limited liability company organized under the laws of

the State of Texas. Defendant is a medical services provider.

       7.      During all times relevant to this lawsuit, Defendant has done business in the State

of Texas.

       8.      Defendant’s principal place of business, as listed with the Texas Secretary of

State is 11511 Shadow Creek Parkway; Pearland, Texas 77584.

       9.      At all times relevant to this lawsuit, Defendant is and has been an “enterprise

engaged in commerce” as defined by the FLSA.

       10.     At all times relevant to this lawsuit, Defendant employed and continues to employ

two or more employees.

       11.     At all times relevant to this lawsuit, Defendant employed two or more employees

who engaged in commerce and/or who handled, sold or otherwise worked on goods or materials
       Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 3 of 6




that have been moved in or produced for commerce by any person. Examples of such goods

and/or materials include medical instruments.

        12.      On information and belief, at all times relevant to this lawsuit, Defendant has had

annual gross sales or business volume in excess of $500,000.

        13.      Defendant may be served with summons through its registered agent Tony Lin at

2727 W. Holcombe Boulevard, 4th Floor; Houston, Texas 77025.

                              III.    JURISDICTION AND VENUE

        14.      This Court has subject matter jurisdiction over this case based on federal question

jurisdiction pursuant to 28 U.S.C. § 1331, because Plaintiff’s claims are based on federal law,

namely the FLSA. See 29 U.S.C. § 216(b).

        15.      The United States District Court for the Southern District of Texas has personal

jurisdiction over Defendant because Defendant does business in Texas and in this District, and

because many of the acts complained of and giving rise to the claims alleged occurred in Texas

and in this District.

        16.      Venue is proper in this District and/or Division pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events giving rise to all claims occurred in this District, and in

this Division.

                               IV.     FACTUAL BACKGROUND

        17.      Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        18.      Plaintiff is employed by Defendant as a medical billing auditor in connection with

its business as a medical service provider. Her primary job duties involve reviewing medical

billing records.
       Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 4 of 6




        19.     Prior to September of 2020, Plaintiff worked for Defendant as a salaried

employee. During that time period, Plaintiff routinely worked in excess of 40 hours per

workweek for Defendant. Plaintiff’s weekly work schedule typically encompassed between 40 to

65 hours of work for Defendant. However, Defendant did not pay Plaintiff time and one-half the

regular rate of pay for all hours worked over 40 during each and every workweek.

        20.     When Defendant experienced a business downturn starting on or about September

of 2020, Defendant converted Plaintiff to an overtime eligible hourly paid employee to reduce

the amount of pay owed to her as she was no longer working significant overtime.

        21.     Plaintiff and Defendant have entered into a tolling agreement, and Plaintiff’s

cause of action has been tolled from December 15, 2020. Plaintiff seeks damages for

Defendant’s failure to pay her overtime premium pay during the three-year period between

December 15, 2017 and the date she was converted to an hourly paid employee in or around

September of 2020.

                        V.      FLSA CLAIMS FOR OVERTIME PAY

        22.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        23.     At all relevant times, Defendant is/was an eligible and covered employer under

the FLSA. See 29 U.S.C. § 203(d).

        24.     At all times relevant to this lawsuit, Defendant has been and is an enterprise

engaged in commerce under the FLSA. See 29 U.S.C. § 203(s)(1)(A).

        25.     Plaintiff is an employee of Defendant pursuant to the FLSA. 29 U.S.C. § 203(e).

        26.     Plaintiff was not exempt from overtime under the FLSA.
      Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 5 of 6




       27.     At times relevant, Plaintiff was paid on a salary basis without additional

compensation for overtime hours of work by Defendant.

       28.     At times relevant to this lawsuit, Plaintiff works/worked in excess of 40 hours per

seven-day workweek as employees of Defendant.

       29.     Defendant is/was required to pay Plaintiff time and one-half her regular rate of

pay for all hours worked over 40 in each relevant seven-day workweek. 29 U.S.C. § 207(a)(1).

       30.     Defendant failed to pay Plaintiff one and one-half times her regular rate of pay for

all hours worked over 40 in each and every seven-day workweek during the time period relevant

to this lawsuit in violation of the FLSA.

       31.     Defendant failed to maintain and preserve payroll records which accurately show

the total hours worked by Plaintiff on a daily and weekly basis in violation of the recordkeeping

requirements of the FLSA. See 29 U.S.C. § 211(c); 29 C.F.R. § 516.2(a) & 516.5.

       32.     Defendant’s violation of the FLSA, as described above, is/was willful within the

meaning of 29 U.S.C. § 255(a). At all material times, Defendant was aware that Plaintiff was not

paid overtime premium pay at the rate of time and one-half her regular rate of pay for all hours

worked over forty in a seven-day workweek.

       33.     Plaintiff specifically pleads recovery for the time period of three years preceding

the date this lawsuit was filed and forward for their FLSA claim as the result of Defendant’s

willful conduct. See 29 U.S.C. § 255(a).

       34.     Plaintiff seeks all damages available for Defendant’s failure to timely pay all

overtime wages owed, including back wages, liquidated damages, reasonable attorneys’ fees and

costs, and post-judgment interest.

                                     VI.    JURY DEMAND
      Case 4:21-cv-00942 Document 1 Filed on 03/23/21 in TXSD Page 6 of 6




       35.      Plaintiff demands a jury trial.

                                VII.    DAMAGES AND PRAYER

       36.      Plaintiff asks that the Court issue a summons for Defendant to appear and answer,

and that Plaintiff and the putative Collective Action Members be awarded a judgment against

Defendant or order(s) from the Court for the following:

             a. All damages allowed by the FLSA, including back wages;

             b. Liquidated damages in an amount equal to FLSA-mandated back wages;

             c. Legal fees;

             d. Costs;

             e. Post-judgment interest;

             f. All other relief to which Plaintiff may be justly entitled.


Dated: March 23, 2021                             Respectfully submitted,

                                                  By:    /s/Melinda Arbuckle
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